Case 2:17-cr-20274-BAF-DRG ECF No. 402 filed 04/09/19          PageID.3238    Page 1 of 4



                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,                              Case No. 17-cr-20274
                                                Judge Bernard A. Friedman
 v.

 D-6, FATEMA DAHODWALA

        Defendant.


                STIPULATION TO MODIFY BOND CONDITIONS

      NOW COMES, Fatema Dahodwala, by and through her attorney, Brian M.

Legghio, and the United States Government, through its attorney Sara Woodward,

and said parties do stipulate that the bond conditions for Defendant Fatema

Dahodwala be modified to permit her to drive from the State of Michigan to the State

of Illinois and all states necessary to reach Illinois and be permitted to drive from the

State of Michigan to the State of Massachusetts and all states necessary to reach

Massachusetts on the following dates:

             Defendant Fatema Dahodwala be permitted to leave the State of
             Michigan on Thursday, April 10, 2019 to travel to the State of
             Illinois and all States enroute and is to return to the State of
             Michigan on or before Monday, April 15, 2019. Additionally,
             Defendant Fatema Dahodwala is be permitted to leave the State
             of Michigan on Thursday April 18, 2019 to travel to the State of
             Massachusetts and all States enroute and is to return to the State
 Case 2:17-cr-20274-BAF-DRG ECF No. 402 filed 04/09/19        PageID.3239   Page 2 of 4



                of Michigan on for before Monday, April 22, 2019. Upon her
                return to the State of Michigan, Defendant Fatema Dahodwala
                is required to make contact with her Pretrial Services Officer
                and confirm that she has returned.


          All other bond conditions shall otherwise remain in full force and
effect.

                                          Respectfully submitted,


  DATED: April 8, 2019                    s/ Brian M. Legghio
                                          BRIAN M. LEGGHIO
                                          Attorney for Fatema Dahodwala


  DATED: April 8, 2019                    s/Sara Woodward
                                          Sara Woodward
                                          Attorney for the United States
Case 2:17-cr-20274-BAF-DRG ECF No. 402 filed 04/09/19         PageID.3240    Page 3 of 4




               UNITED STATES DISTRICT COURT FOR THE EASTERN
                           DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

         Plaintiff,                             Case No. 17-cr-20274
                                                Judge Bernard A. Friedman
  v.

  D-6, FATEMA DAHODWALA

       Defendant.
  ____________________________________________________________________

                      ORDER TO MODIFY BOND CONDITIONS

       The bond conditions of Fatema Dahodwala shall be modified to permit the

following:

              Defendant Fatema Dahodwala be permitted to leave the State of
              Michigan on Thursday, April 10, 2019 to travel to the State of
              Illinois and all States enroute and is to return to the State of
              Michigan on or before Monday, April 15, 2019. Additionally,
              Defendant Fatema Dahodwala is be permitted to leave the State
              of Michigan on Thursday April 18, 2019 to travel to the State of
              Massachusetts and all States enroute and is to return to the State
              of Michigan on for before Monday, April 22, 2019. Upon her
              return to the State of Michigan, Defendant Fatema Dahodwala
              is required to make contact with her Pretrial Services Officer
              and confirm that she has returned.
Case 2:17-cr-20274-BAF-DRG ECF No. 402 filed 04/09/19        PageID.3241   Page 4 of 4



     All other bond conditions shall remain in full force and effect.


     IT IS ORDERED:


                                         s/Bernard A. Friedman
Dated: April 9, 2019                     Bernard A. Friedman
       Detroit, Michigan                 Senior United States District Judge
